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  Fill in this information to identify the case:

  Debtor 1: Jairo E Leal

  United States Bankruptcy Court for the: Southern District of Florida (Fort Lauderdale)

  Case number: 18-17015-SMG

  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                           12/15
  If the debtor’s plan provides for payment and postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

  Name of creditor:      Deutsche Bank National Trust Company, as                Court claim no.: 2-1
                         Trustee, on behalf of the holders of the J.P.
                         Morgan Mortgage Acquisition Trust 2007-CH1
                         Asset Backed Pass-Through Certificates,
                         Series 2007-CH1

 Last four digits of any number                                                  Date of payment change:
 you use to identify the debtor’s         7009                                   Must be at least 21 days after date of
                                                                                 this notice
                                                                                                                                 06/01/2020
 account:

                                                                                 New total payment:                            $1,898.37
                                                                                 Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?

    ☐ No
    ☑ Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
               basis for the change. If a statement is not attached, explain why:

             Current escrow payment:      $ 725.95                        New escrow payment:        $ 868.69

                                                                                                     Escrow Payment: $ 743.71
                                                                                                     Escrow Shortage: $ 124.98

  Part 2: Mortgage Payment Adjustment
    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?

    ☑ No
    ☐ Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

              Current interest rate:                                    %        New interest rate:                              %

              Current principal and interest payment: $                        New principal and interest payment: $

  Part 3: Other Payment Change
    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

    ☑ No
    ☐ Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment: $                                         New mortgage payment: $




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          Debtor 1: Jairo E Leal                                                                   Case number: 18-17015-SMG

Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

        I am the creditor.          X       I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
reasonable belief.


        /s/ Scott C. Lewis, Esq.                                                                  Date    05/06/2020
        Signature

                         Scott                   C.                Lewis
Print                    First Name              Middle Name       Last Name                      Title Attorney For Secured Creditor


Company                 Albertelli Law

Address                 P.O. Box 23028
                        Number        Street

                        Tampa                    FL                  33623
                        City                     State                Zip Code

Contact Phone: 813-221-4743              Email: bkfl@albertellilaw.com




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served
upon the following parties of interest either via pre-paid regular US Mail or via electronic
notification to the parties on the attached service list, this 6th day of May, 2020.



SERVICE LIST

Jairo E Leal
19332 NW 11 St
Hollywood, FL 33029

Ricardo Corona, Esq.
3899 NW 7 St, Second Floor
Miami, FL 33126

Robin R Weiner
POB 559007
Fort Lauderdale, FL 33355

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                               /s/ Scott C. Lewis, Esq.
                                                               Scott C. Lewis, Esq.
                                                               FBN 112064
                                                               813-221-4743 ext. 2603

                                                               Albertelli Law
                                                               Attorney for Secured Creditor
                                                               PO Box 23028
                                                               Tampa, FL 33623
                                                               Facsimile: (813) 221-9171
                                                               bkfl@albertellilaw.com




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Table 4 below shows a detailed projection of future estimated escrow activity of your escrow account transactions since your last
analysis as well as a projection of future escrow activity. The double asterisk (**) next to the required balance indicates the lowest
projected balance in the analysis. This low balance is used to determine the surplus or shortage in your escrow account at the
time of this analysis.

Table 4
                                                   Payments      Disbursements      Beginning          Required
Month                      Description             Estimate         Estimate         Balance            Balance
                           Starting Balance                                           $-111.57        $1,388.23
June 2020                                             743.71             0.00           632.14         2,131.94
July 2020                                             743.71             0.00         1,375.85         2,875.65
August 2020                                           743.71             0.00         2,119.56         3,619.36
September 2020                                        743.71             0.00         2,863.27         4,363.07
October 2020                                          743.71             0.00         3,606.98         5,106.78
November 2020              COUNTY TAX                 743.71         5,850.49        -1,499.80             0.00**
December 2020                                         743.71             0.00          -756.09           743.71
January 2021                                          743.71             0.00           -12.38         1,487.42
February 2021                                         743.71             0.00           731.33         2,231.13
March 2021                                            743.71             0.00         1,475.04         2,974.84
April 2021                                            743.71             0.00         2,218.75         3,718.55
May 2021                   HAZARD INS                 743.71         3,074.00          -111.54         1,388.26

If your account is set up on a monthly automatic withdrawal payment option, your monthly payment withdrawal amount will be
updated according to the adjusted payment above once the escrow analysis becomes effective. If you have any questions or
concerns, please contact our Customer Service Department. Our toll-free number is 800-258-8602 and representatives are
available Monday through Thursday between the hours of 8 a.m. and 11 p.m., Friday from 8 a.m. to 9 p.m., and Saturday from 8
a.m. to 2 p.m., Eastern Time. You may also visit our website at www.spservicing.com.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene información importante concerniente a sus derechos. Por favor, traduzca esta carta. Nuestros
representantes bilingües están a su disposición para contestar cualquier pregunta. Llamenos al numero 800-831-0118 y
                                            seleccione/marque la opción 2.

                            This information is intended for informational purposes only and is not
                                           considered an attempt to collect a debt.




                                                          See reverse side
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                    See reverse side
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                                         Cut along dotted line



                           PAYMENT COUPON ON BACK
           HAS YOUR ADDRESS CHANGED? IF SO, PLEASE COMPLETE THIS FORM

Mailing Address:_______________________________________________________________

                                       Stat ___________________ Zip ___________
City _________________________________ State

Home Phone ________________________ Business Phone __________________________

Account Number(s):

All Borrowers' Signatures Required For Address Change

__________________________________                __________________________________
Borrower's Signature                              Co-Borrower's Signature
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